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The Honorable Catherine C. Blake                                                   May 21, 2020
United States District Judge

Dear Judge Blake,

                 I hope this letter finds you and your family in good health during these trying
times. I write this letter in support of a woman who I consider a part of my extended family:
Cheryl Glenn.
                 I first met Ms. Glenn when I was a reporter for a local television station in
Baltimore assigned to investigate the concerns of several dozen Baltimore City employees who
had suffered employment related problems such as loss of vacation pay, working overtime
without the appropriate compensation and being laid off without notice. Ms. Glenn had spoken
with these employees, understood their concerns and tried to help them individually by talking
with city leaders. Although many promises were made, the working conditions generally
remained the same. These accounting clerks, receptionists, cashiers and secretaries had never
been part of a union until Ms. Glenn organized them into a single unit. This unit, The City
Union of Baltimore, asked for and eventually received the same type of benefits and
considerations that police officers and firefighters, even sanitation workers, had enjoyed for
years. Of course, none of this happened overnight and I covered the progress of Ms. Glenn’s
efforts during the late 1970’s and early 1980’s. She eventually was elected to head the union but
the months she spent organizing the workers were done on her own time without pay. It was
then that I first came to realize how dynamic an individual she was. Here was a woman who had
not attended college, had no training as an organizer; but with the desire to help people, who
grew up poor, like herself, attain reasonably comfortable lives for themselves and their families.
                 After I was elected to the Maryland House of Delegates in 1983, I often sought
Ms. Glenn’s advice and counsel when the issues of working conditions and minimum hourly
wages came before the state legislature. Two decades later, Ms. Glenn, herself, was elected to
the Maryland House of Delegates. I worked with her on issues ranging from parole reform and
the repeal of mandatory sentencing to employment concerns including the increase of the
minimum wage. She had deep desire to help, not only her constituents, but all Marylanders who,
heretofore, had not had a voice in matters that effected their quality of life.
                 Even after the death of her husband, Ms. Glenn remained a strong voice for the
poor and homeless in Baltimore City. When she stood on the House floor to speak on these
issues you could hear a pin drop. She spoke passionately and from her heart, never using notes
or prepared text and her voice was heard.
                 I am so disheartened that we have lost Ms. Glenn’s voice. I think my colleagues
saw her as a genuine person motivated by a sense of service. I am dismayed by her actions that
brought her before you, but I am sure, regardless of the punishment, she will return to her
community and help in the way that only she can.


               Sincerely,


               Curt Anderson
               Member, Maryland House of Delegates
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To: The Honorable Catherine C. Blake, United States District Judge

From: Diana L Bell

Subject: Character Letter for Cheryl D. Glenn (Known to me as Cheryl Jennings Glenn)

Date: January 22, 2020



My first memory of Cheryl Jennings goes back to March, 1961 when we both sold Girl Scout cookies
through our troop in Baltimore, MD. My mother was the Girl Scout Cookie mom for our troop. From that
experience, Cheryl became a regular visitor to our house. She attended Girl Scout Day Camp with me
and my sisters. We were classmates in our junior high school’s enrichment program for 7th and 8th
graders. And, we both were selected to attend the Advanced College Prep Program at Western High
School, the oldest all female public school in the US.

Though our paths diverged after high school, we reconnected about 12 years ago at the wedding of a
mutual friend. Cheryl introduced her husband Ben Glenn to me as “the love of her life”. I was touched
that, in anticipation of seeing me, she had brought a high school photo of me. I chuckled because I still
had her graduation photo as well. We updated each other on family members and consoled each other
after learning that we each had lost a sibling. She shared her memories of my mother and how she loved
to come to our house and help us make chili. And, then, she would stay for dinner, of course.

We commiserated and laughed about the fact that the two of us had become the primary caregivers for
our mothers. Cheryl shared stories about how she would advocate for her mother when she was
hospitalized. I, of course, agreed! We then laughed saying that those hospital folks did not know that we
were Western Girls who knew how to get the care required for our loved ones. We loved our mothers
unto the end. We committed to stay in touch and we have. I treasure the photo that I have with her
from the reunion celebration for the 50th anniversary of our high school graduation. She made our 9th
grade French teacher proud by speaking and leading us in a song in French.

That’s the Cheryl Jennings Glenn that I know. A woman who loves her family and friends, who treasures
the richness of her past while building on the hope and promise of tomorrow. When we sang that Girl
Scout song in the 60s, even I didn’t think that she would become a public servant, or that her loyalty to
her friends would last for over 60 years. But, she did and it has! A loyal public servant who wore a G for
Good old Glory and an L for Loyalty.

Family is everything to Cheryl. I pray for her and her family during this challenging time.
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Taylor Nikila Bishop
5241 Darien Road
Baltimore, MD 21206

May 1, 2020

The Honorable Judge Catherine C. Blake
United States District Judge

Dear Judge Blake,

       My name is Taylor Bishop and I am the granddaughter-daughter of Cheryl D. Glenn. She
has been in my life since the day I was born and has raised me since I was only a few months
old.

       My mother is a kind, caring, hard-working and honest person. When I was a few months
old, my birth mother, her daughter, realized that she couldn’t take care of me. So, rather than
allow me to be put into the foster system, she took me in and raised me as her own, never
expecting a single dime of child support from my birth mother.

        My mother has worked hard her whole life and in mine. When I was in elementary
school, she was the PTA president for the duration of my education at that school fighting for
every single student to have a decent education. Over and over again, my mother always told
her children and her grandchildren, “we don’t do jail”. She told us to never do anything that
would land us in jail. We heard her say more times than I can recall, “if you go to jail, I’m not
going to visit you and I may not want to see you when you get out”. Needless to say, none of us
have ever broke the law, and there are 2 children, and 5 grandchildren, all of us are grown now.

       When Mom was elected into the House of Delegates back in 2007, one of the first things
she did was draft a bill to make growing and distributing medical marijuana legal. This was a bill
she decided to do all on her own without any bribery or coercion from anybody. She knew it
was important that my cousins and myself know the importance of doing things the right way
and showed us what that meant through her exceptional example.

         Although it’s not entirely important to her character reference, I feel that it is important
that it be known that the bill for medical marijuana was named after my mother’s mother, my
great grandmother, Natalie LaPrade. When Grandma was in the late stage in her life, she had a
lot of ailments, many of which could have been lessoned had medical marijuana had been legal
at the time.

         I was very sad to learn that Mom had been set up by Mr. Bob Cockey, for reasons that
we still don’t know. Mr. Cockey was supposed to be a business friend. He came to our house
with his son, Robbie to fix our kitchen sink when it wouldn’t stop leaking after my Mom called
him to ask for help. Mom trusted him and did what he asked her to do, all the time thinking he
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was helping her with his own money. Mr. Cockey even told me numerous times that he would
find me a good job in the food industry, he even had me take the “Serve Safe” test to be able to
work with him at his bar/lounge.

       As long as I can remember, my Mom volunteered her time helping in the community
and the schools. She made sure that she got the funds from the Mayor to completely renovate
Radecke Playfield, a football/baseball field, in our community so that the thousands of children
who use that field would be able to have a decent field to play on. That was a real big deal for
our community. Mom also made sure she actively participated in all of the community
associations, and their events, in our district. Mom made sure she got turkeys and food for
needy families on the holidays with the churches in our community. I always remember her
teaching me the importance of giving to those who are less fortunate and fighting for people
who can’t fight for themselves. That was the reason why Mom started a brand new Union for
Baltimore City in 1988. She explained that the employees needed representation from a real
Union, so for 5 years, she worked hard organizing this Union, with no pay, on her own time and
she very proudly tells the story of how she was presented the Charter at an AFT Convention in
San Francisco. Mom was elected the first President of the City Union of Baltimore, and she
represented 8,000 City employees from all City agencies for 6 years.

        Let me close by saying that I don’t know what our family would do without Mom. Our
house is where all of our family comes every holiday, and every special family occasion. Mom
always tells me how blessed I am that I have only lived in one house ever since she and my Dad
brought me to live with them (I was a very young baby). She always recalls how she remembers
that her family had to move constantly from one house to another; Mom went to 10 different
elementary schools as a result. Mom was also homeless as a teenager, with her baby brother
for a year. I think she always wanted to help others because of her experiences.

        I hope that by reading this letter, you will see that there is no way that my mother is the
type of person to be dishonest and steal money in any way, shape or form. Mom is a good
person with a very good heart. I love her and I respect her and how she has lived her life.


Sincerely,
Taylor Bishop
410-236-6037
tbrangersfan16@aol.com
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January 16. 2020



The Honorable Catherine C. Blake
United States District Judge


Re: Cheryl D. Glenn

Dear Judge Blake:

My name is Benjamin T. Brooks, Sr. I represent the 10th Legislative District in Baltimore County and have
been a member of the Maryland General Assembly for six years. I first met Ms. Cheryl D. Glenn on
January 6, 2015, at our 2015 Annual Legislative Luncheon. My impression of her since then has been one
of a person with high moral character, values, ethics and integrity.

Our working together on the Economics Matters standing committee, the Legislative Black Caucus
Executive Board and various legislative initiatives had yielded nothing to dispel that belief. She has
demonstrated time and time again that she was a detailed, thorough and respected legislator.

As Chair of the Legislative Black Caucus of Maryland, she worked diligently on and shepherd through
most of the caucus’ Legislative Priorities. Her respect and support of all the members were unparalleled.
She was an individual who always worked well with her colleagues and was considered a go to person
for leadership and information.

The current dilemma she is facing was extremely shocking, and from my experience with her, totally out
of character.

With kindest regards,




Benjamin T. Brooks, Sr.
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                                                                              March 11, 2020

To The Honorable Catherine C. Blake

United States District Judge

“If you knew something about someone that could change their life, would you tell them?”

Those 15 words strung together to form a simple question will forever be etched into my memory. I was
asked this on Saturday, March 1, 2008. After some coaxing, the person on the other end of that question
confessed two things to me.

   1. The question was in fact about me.
   2. I was adopted.

At the age of 24, I, Karen Nicole Faustin, learned that my parents were not my “parents”. My family was not
my “family”. I was not “me”. It took many years of work, but I’d finally reached a place of acceptance of this
truth & realized that my family was indeed my real family, my parents were indeed my real parents and I
was indeed really myself.

Wednesday, July 27, 2016 – another bomb dropped. My mother died. My real mother. The lady who’d raised
me my whole life. The woman who didn’t give birth to me but gave LIFE to me. The woman who picked me
up whenever I fell and said, “Pooh Bear, you’re gonna be okay.” Gone. Forever. Have you ever had a pleasant
memory of someone but, as time goes on, you forget certain elements of said memory because that person
is no longer here? Yeah. That’s been me since that day. Trying to hold onto her smell. Her voice. More
importantly, her touch.

Enter modern day science. Thanks to AncestryDNA, I’ve been able to connect with my biological father and
sisters, including my older sister, Niki Savage. She and I have grown extremely close. Through my
relationship with her, I’ve had the opportunity to build a connection with her mother, Cheryl Glenn.

The first time I met her, she grabbed me by the shoulders, looked at me and said, “Yes, you are definitely
one of Niki’s people. You look just like them.” This was followed by the warmest “mama bear” hug ever! I
hadn’t felt that in so long. It was nice. It was comforting. It was as reassuring as hearing, “Pooh Bear, you’re
gonna be okay”. It felt familiar. I smiled in return but oh how I weeped on the inside! She felt like my mom.
I didn’t want to seem like a creep but I could’ve hugged this lady for hours! Since that day, she’s treated me
like one of her own. I even feel like I am. Every fiber of her being embraces me wholeheartedly without
judgement and without condition. I smile when I think about her because I feel like my mom left a piece of
herself in Ms. Cheryl (or “Ma Cheryl” as I refer to her in my head) just for me.

The woman sitting here today is a GOOD person. A genuine person. Her absence in the community will do
us more of a disservice than it would her. Losing her presence would feel like the loss of another mother, a
feeling that I’d never wish on my worst enemy on their best day. It is my sincerest prayer that my
experience with “Ma Cheryl” gives you a peek into the true person sitting behind that table.

Sincerely,

Karen N. Faustin
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To:     The Honorable Catherine C. Blake

        United States District Judge

From: Walter A. Hairston Jr.

Date:   April 25, 2020

Re:     Cheryl Glenn

My name is Walter A. Hairston Jr. I am blessed to have been a licensed boat captain, a retired public
servant and professional in the federal government for nearly 35 years, and am currently a small cattle
rancher in Texas. I have known Cheryl (Delegate Glenn) for over 53 years and we have shared parenting
duties for our daughter Nikki. Delegate Glenn was my high school sweet heart and prom date. I knew
her when we were both so poor that we used a cooler for a refrigerator. She never complained. She
has always put others first, especially her family. I have followed her career as a political hero and
champion for the disenfranchised. It is nothing less than shocking to hear these current allegations. This
is not the person that I have come to love and respect. Even in our poverty as a young couple she would
always be encouragement to do the right thing.



I have little doubt, that Cheryl has “ruffled the feathers” of many who are routinely are using their
positions for personal gain. I am incredulous to imagine what is currently going on. Delegate Glenn has
and continues to live a life of material modesty. She has little, if any of the trappings of power and
money. What she does have is a wealth of family, friends and a constituency who will suffer
immeasurably without her love and support.




Walter A. Hairston Jr.
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May 15, 2020


The Honorable Catherine C. Blake
United States District Judge


Dear Judge Blake,
My name is Arnold O. Harper. I’m a longtime friend of Cheryl Glenn for more than 14 years. I
was a parent of a student who attended the same elementary/middle school as her granddaughter.
We formed a close friendship shortly after Cheryl asked me to be Vice President of the PTA
(Cheryl was the President). During our term Cheryl worked hard to make sure students had the
things necessary to do well in school. She advocated for increased school funding, field trips, a
strong administration, just to name a few. Under Cheryl’s leadership, we started the first Spring
Fling at Moravia Park PreK-8 School, the school continues the tradition every year. This is a
huge event for the school, community, and businesses to come together to provide a whole day
of food and fun for the students.
After a disappointing first run for office for the City Council, Cheryl was successful in her next
run for State Delegate. I was very happy to help her in her campaign. Cheryl has been fighting
for people in the 45th District since winning the Delegate position. Her integrity, honesty, and
her efforts to SERVE her constituency has been her strong suit. She’s a great Mom,
Grandmother, and “warm hearted” friend and a RESPECTED community member.
Every July, Cheryl would treat about a dozen of her close friends who worked in her campaigns
to the Tawes Annual Crab Feast in Crisfield, Maryland. I would look forward to this trip every
year. None of us had to pay for our tickets or for gas. Most of us would ride in Cheryl’s van and
we had a great time every year. Cheryl said this was a small token of thanks for our support.
We need Cheryl here with us to continue her work for the community.
Thank you,
Arnold O. Harper
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May 22, 2020

The Honorable Catherine C. Blake
United States District Judge


Dear Judge Blake,

My name is Shirley Hill . I have been a friend of
Cheryl for 63 years. I met Cheryl in the first grade. I
remember her walking into class the first day. She was
not shy and seemed to be a very strong person. Yes,
even at the tender age of 6, I recognized her as
someone who was not afraid of anything.
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Through the years, we shared happy times as well as
sad times. We attended the same middle school. We
lost touch when we went to different high schools. I
learned later of the obstacles that she had faced with
the separation of her mother and her father which left
her homeless for a period of time in which she had to
secure a place to stay.

Cheryl has become a part of my family. She has
always attended my family affairs. My mother
thought of her as a daughter. My mother was a renal
patient. There was a day where she was snowed in and
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Cheryl found a way to have her street cleared so that
she could go to dialysis in which she needed to
maintain her health. She often visited my mother.
They took a trip together to Atlantic City in which my
mother loved to go.

Cheryl was there for the family in 1995 when my
brother passed away in his sleep. We were devastated.
Cheryl was a lot of comfort to the family, especially my
mother. Cheryl gave family members coffee mugs with
his picture. She spoke at my brother’s service.
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We gave my mother a surprise party for her 77th
birthday. Cheryl had a certificate made honoring her
day. My mother had it framed and placed on a wall in
the living room. My mother passed in 2003 and of
course, Cheryl was there and spoke very highly of my
mother.

Cheryl and I would babysit each other’s children when
needed. She went to my oldest son’s school to check
on him when I could not leave my class. She served as
President of the P.T.A. for 2 different schools and was
very effective.
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On December 5, 1978, I started to have labor pains
with my youngest son. This was also the first day of my
husband’s new job. He called Cheryl to take me to the
hospital to be seen. We decided that afterwards, we
would go to breakfast and go Christmas shopping.
Well, that didn’t happen. She went as far as she could
with that process. She took my jewelry and
belongings. Cheryl called my husband. He came right
away.
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I had surgery in 1991. Cheryl would come to the
hospital to visit and made sure that I had everything
that I needed.

Cheryl served as a Field Rep for the Baltimore
Teacher’s Union and luckily she was the Rep for the
school in which I taught. She would have lunch
meetings to discuss any problems that we were having.
She was able to resolve the problems with the
administration in an amicable way.

We have done trips together in which one we took a
plane ride home. You could not reserve seats. She and
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her granddaughter (which she raised from birth and
now is a 24 year old young lady) were able to get
seated before me and the rest of my family because of
her disability. She made sure that my grandson had a
seat between the two of them, because it was a very
crowded flight. He calls her aunt Cheryl. He was so
comfortable talking with the two of them, that he fell
off to sleep.

Over many years, we had great times together which
sometimes were quite silly. We would drive to
different malls to get the kind of peanuts that we
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liked. My husband asked Cheryl to go out with me
because he was planning a “surprise” party. Well I
was super late getting back because we closed the mall.
Some of the guests had left. My mother said “Why did
you let those two go by themselves?

Cheryl is the rock for her family. Her grandsons adore
her and are always happy to be in her company. She
attends every sports’ event as well as celebrations that
she has input. She attended my son’s graduation (out
of state) with her husband.
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You can expect to be invited to her home for holiday
dinners or just to sit out back for a bar-be-cue or eat
crabs. She is my sister.

Respectfully,

Shirley Hill
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May 22, 2020
The Honorable Catherine C. Blake
United States District Judge


Dear Judge Blake,


My name is Saeed Hill. I have known Cheryl
Glenn all my life. I am 46 years old. She has
always been a strong and steady person
that I could count on. In third grade I was
bullied by a fellow student. He taunted me
over a pair of Dingle boots that I really liked
that my parents bought for me. No one at
the school could handle the situation. My
mother was due to come to the school. My
mother spoke to Cheryl about my troubling
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situation. I was in class and I looked up to
see Cheryl knocking at the classroom door.
I was surprised to see her. I knew that she
was president of the P.T.A., but I wondered
why she came to my class. Well, she
became my super hero that day because I
was no longer bullied. She later told my
mother that everything was ok now.
There were times when I spent time with
her when my mother had errands. I loved
visiting her home because she made me
feel at home. I ate well. She would joke
around with me. Cheryl took me and her
oldest daughter to a concert. I felt safe. My
mother only trusted Cheryl to keep me.
Our families went to Hershey Park and
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although my mother had packed lunch for
us, Cheryl had enough to feed an army.
I was able to get a car when I was 17.
Shortly afterwards, it needed some
expensive repair. She spoke with her
husband and they said to bring it to him.
He worked on it all day and didn’t charge
anything and of course Cheryl fed me.
Cheryl gave me and my younger brother
tickets to see a fight at Maryland Live
Casino in Arundel Mills. They were fantastic
seats. I later found out that the tickets
were complimentary from a casino
manager. The manager was so appreciative
for how Cheryl had treated her with
compassion and utmost respect and
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wanted to thank her. My mother shared
this with me that night.
Cheryl would stop pass my job and would
give me advice on how to alleviate any
problems that I had. Again, she was my
super hero. I was more than happy to work
on the polls for her every election day
because I have seen how dedicated she has
been to her constituents. She also allowed
a few of my students to earn community
service hours by working on the polls. They
were also aware of her community work.
 I was on my first cruise and we ran into
some bad weather at night. Cheryl was also
on the cruise with her grand-daughter. My
parents were at a show and my son was at
the kid’s camp. I had gone out on the
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balcony which was a bad idea. Well, I went
to look for my super hero. She was in her
cabin calmly reading a book and her grand-
daughter was asleep.
She joked about it and said that I could stay
there. I felt at ease and went back to my
room.
In closing, I know that Cheryl affectionately
known as “Aunt Cheryl” is always in my
corner. I have nothing but lots of love for
her.


Respectfully submitted,
Saeed Hill
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To: The Honorable Catherine C. Blake

   United States District Judge
From: Barbara J. Faltz Jackson, FIA, Inc. President
Date: May 29, 2020
Re: Cheryl D. Glenn


As an educator, neighborhood community officer, and active BTU member I met
Mrs, Glenn as an active organizer and founder of the City Union of Baltimore
known as CUB. I later learned she was also a resident of Gardenville
Neighborhood within my neighborhood coalition of communities known as
Frankford Improvement Association, Inc. Working within the schools and
community I got better to know her as caring and willing to do what was needed
for improving the lives of residents young and old. Cheryl was especially skilled
at networking to assist with change for improved living conditions such as getting
the bus company to improve a reroute for many of our seniors and workers who
need public transportation. She worked and networked with me and the entire
coalition of FIA to have a 917 unit drug infested apartment building razed and
replaced with 170 moderately priced homes which we named Frankford Estates
Homeowners Association, Inc. She helped with getting funding for improved
conditions for many events of improving quality of life for all of the many
residents within our more than 26,000 residents by quietly working with all very
influential and well established businesses, fellow city politicians, and community
leaders. In 1983 we were labeled as one of the best Baltimore Communities. We
also became the community to house the Baltimore International School known
for its teachings of many languages to children after a meeting of Cheryl and I
with the Archbishop.
As years moved on I saw her as an outspoken politician willing to recommend
others to help us such as Senator Kelly to engage with clarity of rules for the
newly built FEHOA built during 1999 to 2006. She appeared to work well with
many from various areas and cultures. We have had more than 5,000 newcomers
in our neighborhoods. We often discussed with the International Rescue
Committee leaders the different cultures and ideas of political needs and desires
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of the Southeast and Northeast section of the city which she had began her
political career. I found her to be supportive of persons she believed were
mistreated or “over- looked” and needed someone to fight for their causes or a
voice of their concerns. Sometimes I agreed with her and sometimes I did not
agree with her. Still she moved on without being unkind or disrespectful. As she
served as delegate, we often met just to discuss community needs as well as
enjoy breakfast out and feel relaxed from the regular order of the day. Both she
and I during recent active days of 2018 - 2019 had little time for breakfast
meetings as a friend and neighbor.
Cheryl’s feelings and knowledge of her mother’s failed health fight with cancers
resulted in the fight for the hemp plant use as medicine for those who suffered
with cancer and their eating habits. Her Mother died and it is my belief that had
the greatest current urge for Cheryl seeking fairness for people of color she felt
were not equally considered with any type of legal business engagements. I am
praying for Cheryl during this time of her life challenges. Her religious beliefs is a
blessing for her during this phase of her life ventures.
Both Cheryl and I have celebrated birthdays this month of May. I thank God for
my 76 years and having known Cheryl Glenn and her late husband Ben Glenn.


Respectfully Submitted:
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To: The Honorable Catherine C. Blake

   United States District Judge
From: Barbara J. Faltz Jackson, FIA, Inc. President
Date: May 29, 2020
Re: Cheryl D. Glenn


As an educator, neighborhood community officer, and active BTU member I met
Mrs, Glenn as an active organizer and founder of the City Union of Baltimore
known as CUB. I later learned she was also a resident of Gardenville
Neighborhood within my neighborhood coalition of communities known as
Frankford Improvement Association, Inc. Working within the schools and
community I got better to know her as caring and willing to do what was needed
for improving the lives of residents young and old. Cheryl was especially skilled
at networking to assist with change for improved living conditions such as getting
the bus company to improve a reroute for many of our seniors and workers who
need public transportation. She worked and networked with me and the entire
coalition of FIA to have a 917 unit drug infested apartment building razed and
replaced with 170 moderately priced homes which we named Frankford Estates
Homeowners Association, Inc. She helped with getting funding for improved
conditions for many events of improving quality of life for all of the many
residents within our more than 26,000 residents by quietly working with all very
influential and well established businesses, fellow city politicians, and community
leaders. In 1983 we were labeled as one of the best Baltimore Communities. We
also became the community to house the Baltimore International School known
for its teachings of many languages to children after a meeting of Cheryl and I
with the Archbishop.
As years moved on I saw her as an outspoken politician willing to recommend
others to help us such as Senator Kelly to engage with clarity of rules for the
newly built FEHOA built during 1999 to 2006. She appeared to work well with
many from various areas and cultures. We have had more than 5,000 newcomers
in our neighborhoods. We often discussed with the International Rescue
Committee leaders the different cultures and ideas of political needs and desires
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of the Southeast and Northeast section of the city which she had began her
political career. I found her to be supportive of persons she believed were
mistreated or “over- looked” and needed someone to fight for their causes or a
voice of their concerns. Sometimes I agreed with her and sometimes I did not
agree with her. Still she moved on without being unkind or disrespectful. As she
served as delegate, we often met just to discuss community needs as well as
enjoy breakfast out and feel relaxed from the regular order of the day. Both she
and I during recent active days of 2018 - 2019 had little time for breakfast
meetings as a friend and neighbor.
Cheryl’s feelings and knowledge of her mother’s failed health fight with cancers
resulted in the fight for the hemp plant use as medicine for those who suffered
with cancer and their eating habits. Her Mother died and it is my belief that had
the greatest current urge for Cheryl seeking fairness for people of color she felt
were not equally considered with any type of legal business engagements. I am
praying for Cheryl during this time of her life challenges. Her religious beliefs is a
blessing for her during this phase of her life ventures.
Both Cheryl and I have celebrated birthdays this month of May. I thank God for
my 76 years and having known Cheryl Glenn and her late husband Ben Glenn.


Respectfully Submitted:
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January 23, 2020

The Honorable Catherine C. Blake
United States District Judge

My name is Angela Chester-Johnson, and I have known Cheryl (Jennings) Glenn for 55 years – a lifetime.
Cheryl and I met at Western High school in 1965, where we matriculated together in the Advanced
Placement Curriculum, known as the “A Course”. Though I grew up in West Baltimore, and she grew up
in East, we became friends almost immediately. We were the youngest girls in the school, as the A
Course began in the 9th grade, as opposed to 10th. Additionally, there weren’t many black girls at the
school during those years. Cheryl and I bonded around staying on top of our work and extra-curricular
activities. We went for “all of the marbles” – we both joined the basketball team, starred in the school
musicals, HMS Pinafore and The Mikado, were student volunteers, plus held down honors English and
math classes.

The A course cohort took classes together for the entire 4 year program, so girls got to know each other
up close and personal. After a time, we began visiting each other’s homes, having pajama party’s and
pizza parties at each other’s homes. While Cheryl came to some of the parties, she never hosted any.
Eventually I asked to come to her house. She avoided my self- invites for quite some time until one day I
insisted. She finally gave in. I visited Cheryl at home, and immediately realized that there was a
tremendous amount of lack. The basic things that I took totally for granted were missing. I’m talking
food basic. I admired that Cheryl took care of her younger brother and made sure that he ate a small
can of potted meet and drank some milk. I also felt sad. Cheryl felt embarrassed because there was no
food for us. We had an even closer bond from then on, because we never minded or spoke of it again,
until a few years ago when I returned to Baltimore.

I’ve always known Cheryl to make lemonade out of lemons. We’ve shared the misery of dead- beat
husbands, the stress of providing comfort and care to sick family members, loss of loved ones and
dreams deferred. Even though we lived 3000 miles apart for some time, we largely stayed in touch and
remained friends. After I returned East it was as though we’d never been apart. I found the same friend,
providing her same brother with a room to live, being a mother to her granddaughter; in fact the
matriarch of her family. I shudder to think what her absence would mean in their lives.

She was (and is) a caregiver, a team player, an overcomer, an optimist - a champion, other people’s
champion. Whether she was fighting for constituents, teacher’s wages and work conditions, children
who experience hunger and homelessness like she, herself once did, or for legislation that bolstered the
living conditions or socio-economic opportunities for Baltimore residents, you always find Cheryl in the
middle of a movement for good. She has always stood up for the underdog. She’s a GIVER!

I must admit that I am mind-boggled at the challenges that she is now confronted with. In all sincerity,
there is nothing that I’ve witnessed in her character for over 50 years that allows me to envision a
breach of character. She has always pursued life with grace and dignity - bravery and determination.
Cheryl has spent her life being a beautiful human being; a true friend. A 100% keeper!

Sincerely,

Angela Chester-Johnson
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January 21,2020




To: The Honorable Catherine C. Blake
United States District Judge




I Reon King Burrus, met Chery Glenn in 2017, she was very direct and very detailed
with information shared about different programs, community activities and her input on
general topics if she was asked any questions. Cheryl, is family orientated, very loving
and humble, sharing, God fearing/ spiritual and a hardworking woman and loyal friend. I
have seen and heard Cheryl at different events helping several people by answering
their questions, introducing them to different people so they get their questions
addressed. She was honest with people when answering questions regarding
information about the Cannabis License or Public Government, informing people to
come to the meeting and always review the website for information. I always felt, people
respected her for being upfront and her honest/ direct ways, they knew if she did not
know she was going to try to find someone who did know. Cheryl, was always trying to
help people no matter what the situation was or the time of the day. I would call her and
she told me she had been up since 1A.M trying to resolve an issue for the Black
Caucus, working, or for someone in her family.




I recall, Cheryl was in a lot of pain due to a rupture/ tear in her Achilles Tendon which
she still suffers with, I told Cheryl along with other family members to schedule her
surgery. Cheryl, replied no I have work to do, she went the entire session to assist
people throughout the state of Maryland in pain. She wanted to make sure people sure
had the dates and time for meeting and information needed, she enjoyed knowing
people wore successful and/or following their dreams. She’s very passionate about life
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and pursuing opportunities that will help people have a better life. She understands the
hardships that people are challenged with on a daily basis whether you are an individual
or a business.

Being around Cheryl her family and close friends, I can see and feel the love, the
positive energy, strength and the unity within and around them. When Cheryl prayed or
spoke with you, I always felt stronger and knew I spoke with a person of integrity and
wisdom. I shared with Cheryl, that I was raised by my grandmother who taught me
about morals, ethics and stressed the importance of education on me. I noticed similar
values Cheryl children with. Nikki is outgoing and a very loving mother with strong family
values and her sons love their mother and grandmother unconditionally. I told Cheryl,
you must be proud to have such loving, Bless, intelligent and talented grandsons. Taylor
is loving, very sensitive to people's needs, and she loves to share her baking ideas with
close friends and family. Taylor and I can talk for hours about Hallmark Channel, Taylor
shared me that the Hallmark Channel reminds her of her Mom (Cheryl Glenn) and
family shared times especially around the Holiday seasons. I had to agree with Taylor,
Hallmark Channel is about family, love and sharing life experiences. Cheryl is very
instrumental to her family, Taylor depends on Cheryl a lot, she not use to leaving alone
or with others. Taylor, cannot be around large crowds, strangers and does not do well
long periods without Glenn. Taylor has been Cheryl, since she was a baby and that's all
she knows and trust.




Cheryl Glenn, is the corner stone and cement to her family. I have noticed Glenn being
like an Angel that spread her wings to protect her loved ones, she will take abuse, the
negative and suffering before she allows her loved ones be affected. This is a LOVE
only a mother could have, she’s not perfect but she is an individual and a mother that
passionate about life and loves her family and friends. Anything outside what I
described in this letter, would be out -be-charter of the Cheryl Glenn, I have come to
know and respect.
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Sincerely:



Reon King- Burrus
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 June 15, 2020


The Honorable Catherine C. Blake
United States District Judge


Greeting, the Honorable Judge Blake
My name is Sarah Matthews and I'm writing this letter on behalf of Mrs. Cheryl Glenn. I have
known Cheryl over twenty-five years and during this period of time, without hesitation, I can
speak with confidence that this Cheryl Glenn is a Christian woman with morels and impeccable
character. She has displayed these attributes since the first day I met her.
During the time we served on the Baltimore City State Central Committee, Cheryl was a
compassionate leader and fought fiercely for our party, state, city and community especially
underserved communities. We couldn't have asked for a better leader than Delegate Cheryl Glenn,
moreover, while serving in the Maryland General Assembly, Cheryl spent her time advocating for
the undeserved communities and residents in her district. I worked along side her during some
of thses heartfelt efforts.
I experienced some financial hardship and Cheryl was there to advocate for me and provide
whatever referrals I needed to address my immediate housing needs. Regardless of the day, night
or time, she availed herself and her staff to assist seniors like myself. She has been a loyal
supporter of the underdogs in the city for as long as I have known her. Mrs. Glenn oftentimes,
goes above and beyond the call of duty to assist anyone who felt alone, any individuals who were
homeless or needed a shoulder to lend on, this is the Cheryl Glenn that I know and respect. She
has demonstrated this selfless character for as long as I have known her, during our stint on the
Central Committee and as leaders in the City of Baltimore. Cheryl has a special love for people;
especially individuals in need and in return, we have a special love for her commitments to
mankind, the City of Baltimore and the State of Maryland.
As a trained counselor and certified by the State of Maryland, Cheryl's conduct cited in this case is
out of character for the woman who I have known and worked with in the community for over
twenty-five years. Cheryl became extremely depressed after the death of her husband several
years ago. I observed a big change in Cheryl after losing Ben, she became withdrawn and our
communication became limited but I was always willing to listen to a Ben’s story because after all,
I knew her soulmate, Ben Glenn.
Cheryl hasn’t appeared to be the same person since Ben’s unexpected death. She and her
husband were inseparable when you saw one, you saw the both of them, working in the
community, helping a senior or a child in need.

Mrs. Cheryl Glenn has spent a lot time alone and we have offered to take her out to dinner
however she has refused over and over stating that the love of her life has left her isolated thus a
sentence of imprisonment will only fuel that isolation and cause her further depression. I'm
afraid of what may happen to Cheryl, if she is locked away in a cell.

She would be best served in a community setting where she can get counselling, where her friends
and family can provide the emotional support that she needs to and again become the woman
that we all know and love in addition to the woman who have continuously served her
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community, city and state with honor and distinction. Mrs. Cheryl Glenn has invaluable skills set
that could be used to teach others to overcome depression and lead a wholesome and productive
life. Any constituents will testify, if you needed assistance, you could call upon Cheryl Glenn, it
didn't matter if you lived in her district or not. She is a good person and I hope that this one time
occurrence will not destroy all of the good that she could impart to others. I am pleading with
the Honorable Blake to please take into consideration some of the points that I have made and
assist Mrs. Glenn with redecoving her selfworth and her good to man and its community. Thank
you so very much.



Respectfully Submitted,
Commissioner Sarah Matthews
Baltimore City Commission on Aging
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January 15, 2020
Sharon McCollough
Minister
4122 Coleman Avenue
Baltimore, MD 21213

The Honorable Catherine C. Blake
United States District Judge
101 West Lombard Street, Chambers 7D
Baltimore, MD 21201

Dear Judge Blake:

I am writing on behalf of Delegate Cheryl D. Glenn. I have known Delegate Glenn for more
than 10 years. Our relationship began with a phone call, asking her to serve as a mentor to me.
Upon meeting with Delegate Glenn at her Annapolis office 10 years ago, we formed a
relationship that grew beyond mentoring. She and I became friends. Throughout the 10 years of
developing from mentor to friend, I can say without hesitation that I have learned a great deal
from her as a woman in leadership.

Cheryl is a hard worker and very dedicated to her family and the constituents she serves. I
watched her with admiration as a wife, mother, grandmother and political leader. I recall a
specific time when it was time for her to pack up and return to Session before her husband
passed away. Her husband of whom she loved dearly was ill; but he encouraged her to fulfill her
duties as a legislator. Before she would leave for the Legislative Session, she prepared and froze
several meals for her husband. In addition, I was able to watch she and her husband selflessly
raised her granddaughter from an infant to childhood to the outstanding young lady she is today.
Today her granddaughter continues to live with her which is a testimony of a unique and
anointed blessing in this 21st Century time. Also, I was very impressed how she interacts with
the constituents she serves. She was invited to a cookout that was hosted by an elderly lady from
the inner-city part of the district she serves. This was just an old fashion, round the way,
backyard cookout. It was during this moment, Delegate Cheryl Glenn showed me that she is a
public servant who meets all the constituents she serves with dignity, respect and love regardless
of location, status and class.

In closing, over the years I have known Cheryl, she has always conducted herself with integrity
and good moral character. She is modest, loves her family and serving her constituents of the
45th Legislative District. In regards, to what she has been accused of, I find it hard to digest as
this is totally out of character for her. Despite the accusations, I still know and consider her as a
woman of excellence.

Sincerely yours,


Sharon S. McCollough
Minister
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March 30, 2020

The Honorable Catherine C. Blake
United States District Judge


Dear Judge Blake:

I am writing this letter in reference to Former Delegate Cheryl Glenn. I, former State Senator
Nathaniel J. McFadden, served with Cheryl for 18 years in the Maryland General Assembly. I
have known Cheryl for over 30 years as a strong and active supporter of the citizens in East and
Northeast Baltimore as an elected leader, as well as her role as an employee of the Baltimore
City Schools.

In each capacity Cheryl was the consummate professional dedicated to improving the life and
living conditions of all who came in contact with her. I was especially impressed some years ago
when she help found the City Union of Baltimore (CUB) in the Baltimore City Public Schools to
assist improve and enhance the working conditions of support personnel. She followed that up
working for the Baltimore Teachers Union (BTU) to better support lower level employees.

She later leveraged this activism to another level serving on the Baltimore City State Central
Committee in East and Southeast Baltimore. I and my political organization the Eastside
Democratic Organization (EDO) were so impressed we recruited her to join our group and the
rest is history, she has been an unquestioned leader in Annapolis.

At every level Cheryl was a person who conducted herself without any reproach in character or
personal conduct. She has and will always be a valued friend. Her involvement in a crime of this
sort came as a complete surprise and shock to me. It was completely out of character and
clearly demonstrated a monumental lapse in judgment on her part. Cheryl’s life, legacy,
reputation and name are all now permanently damaged, as a result of her tragic mistake. I
believe she understands the tremendous error in judgment made which has resulted in the loss
of her job, and career she worked so hard to create.

Your Honor I would hope you would take into account the punishments that she and her family
have experienced already and take that into consideration in your sentencing. Thank you for
considering my request.

Sincerely,



Former State Senator Nathaniel J. McFadden
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                                                                            Tuesday, February 4, 2020

The Honorable Catherine Blake
United States District Judge

My Name is Pete Moody

I am the president of the Gardenville Neighborhood Association (GNA). I have held this volunteer job
since 1990 only stepping away for two years during this tenure. GNA is made up of 219 homes
(homeowners & rental tenants) covering seven streets and zip code 21206.

I have known Cheryl Glenn and family as a neighbor since 1993 where we met as a result of her grand-
daughter attending my wife’s Home Day Care Center. Over the years we became closer friends as
neighbors. About 1995 I asked Cheryl about becoming a volunteer member of the Gardenville
Neighborhood Association since she lived in our neighborhood. She accepted the offer and became a
board member. Over the years she worked in concert with other board members to achieve GNA’s
organizational goals to keep our neighborhood safe, clean, healthy, property upkeep and to prevent and
ensure enforcement (If needed) of crime issues in our neighborhood. Cheryl worked as our volunteer
liaison person for getting city officials, political representatives, community organizations and other
organizations to work with us in achieving these goals. At one point she orchestrated in getting than
Mayor Kurk Schmoke and the media to visit our neighborhood to see our accomplishment and to
address our priority needs.

On the behalf of GNA she worked with city officials and the Frankfort Improvement Association in
obtaining funding to get a badly needed kids-youth athletic field (Radecke Park) renovated for the youth
baseball and football leagues. She was instrumental in the Radecke Park new design in getting a walking
track, concession stand, equipment facility space, bathrooms and parking spaces added on to that
design. Along with other projects she worked on; her individual and join efforts with others proved to
be beneficial to the future stability and growth of all the communities in our area.

Although Ms. Glenn moved on to seek and obtain political office, leaving the GNA board, she continued
to maintain residence in our neighborhood, attending neighborhood meetings and providing help to our
neighbors and GNA when needed. ------- As she always said “Her Door Is Always Open “.

I feel that Ms. Glenn has been honest, trusting, and loyal. She exhibits good conduct and is dependable.
In short, I have always known her as a positive good natured person working to make a difference.



William (Pete) Moody (President)
Gardenville Neighborhood Association (GNA)
5916 Laclede Rd, Baltimore, Md 21206
410-325-9242
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To: The Honorable Catherine C. Blake, United States District Judge

From: Rev. Janice Mosby

Subject: Character Letter for Cheryl Jennings Glenn

Date: 05/29/20

Your Honorable Judge,
I am pleased to offer a character reference for Cheryl Jennings Glenn. I have known
her for over 50 years. We met at Western. High School and continued our friendship
until now. I know her to be a loyal friend, an exceptional wife, daughter, mom and
grandmother. She is currently responsible for taking care of her granddaughter and
provides a home for her.

I have had numerous opportunities to interact with her as we both attended and
supported community activities to provide guidance and help for young people and
women entrepreneurs. While at these affairs, she generally did not even have a
chance to enjoy her meals because she was always approachable and took time to
speak with everyone who desired to meet her and seek her advice.

I last interacted with her at our 50th High School Reunion. Cheryl added to my
enjoyment of the affair by her fun loving, gracious spirit. She has proven to be a
thoughtful and loving friend. We both shared stories and experiences about being
the primary caregivers for our moms as they experienced health and aging issues.
She helped to encourage me and to lighten my spirit. I am grateful to call her my
friend.
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January 16, 2020


The Honorable Catherine C. Blake
United States District Court
6500 Cherrywood Lane
Greenbelt, Maryland

Dear Judge Blake,

I have been request to forward a character reference letter on behalf of Cheryl D. Glenn, a former
colleague in the Maryland General Assembly and Chair of the Legislative Black Caucus of
Maryland (LBCM). I am pleased to do so.

I first met Delegate Glenn in 2014 when I entered the Maryland House of Delegates as the District
28 Representative. I would soon realize what a pivotal role she would play in helping me and
others to become acclimated to the inner workings, duties and responsibilities of the legislative
processes at the state level. Although I had prior political experiences as a County Commissioner
for Charles County and twelve years on the elected school board performing fiduciary,
administrative and leadership duties, she provided critical insights and sound counsel along
mentorships to several entering freshmen regarding procedural and regulatory workings of the
General Assembly. This was especially noted in her sharing insights into Committee oversights,
organizational structures, historical foundations of her district (45) along with the incredible
legacy of the LBCM.

Delegate Glenn spoke with fervor and pride when citing her relationships with former members
of the General Assembly and the invaluable roles the prior leaders played in their hard fought
stance to ensure the continuous mission of the Caucus to ensure racial equity and a voice in
decision making. Furthermore, as Chair of the LBCM, she presented an incredible knowledge of
the prior challenges and successes garnered when groups, districts and regions worked
collaboratively. This was especially noted during her tenure as LBCM Chair and observed as she
worked extremely hard to create a cohesive organization that created annual priorities reflective
of the Black communities and worked along with the House of Delegates. In addition she was
determined to include the governor’s various cabinet offices (Secretaries) and legislative
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projects/proposals in presentations before Caucus members. Throughout her tenure she remained
steadfast in her resolve to create equity opportunities for citizens who were disenfranchised.
Similarly, her passion and advocacy for her district and city were equally parallel with her
commitment to secure funding/settlement of the lawsuit re: Historically Black Colleges and
Universities (HBCUs). Throughout her tenure she encouraged the Caucus to keep this initiative as
a number one priority.

Lastly during the 90 Day session, we stayed at the same hotel and usually had both breakfast and
dinner together. During those intimate settings, we frequently spoke of family, offered comments
on having loving/caring sisters and more personally the observation both of us were political
widows. She shared/cited her profound love and deep respect for her late husband and the lessons
and strength she garnered as a result of their relationship. In closing, our interactions have always
been one where we sought ways to help others and shared our challenges and concerns over the
lack of opportunities for those less fortunate.

Thank you for giving this letter consideration.

Sincerely,




Delegate Edith J. Patterson
Legislative District 28
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January 09,2020



To whom it may concern:



Cheryl Glenn is a very special friend. I have known her for over 50 years. Within those 50 years I can
honestly say that MS. Glenn is a very honest, loyal, compassionate, loving, spiritual woman. She would
help anyone in need. She has helped raise her grandkids and have always taught them to be honest and
respectful people. She raised two daughters of her own and also raised three step kids. When her
husband fell ill she took very good care of him.

 She has always been a hard worker and is very dedicated at what she does. Ms. Glenn would give her
last to anyone in need. For example when my son was a young teenager he was going down the wrong
path; since she was a very close friend of mine I always go to her for advice not only did she give me the
advice I needed she also stepped in as being my son’s Godmother and of course put her foot down and
guided him in the right direction and helped him get a job. And even encouraged him to go to college at
which he attended Winston State University. While raising my four boys as a single mom, Cheryl was
always there to give a listening ear and shoulder to cry on. Not only was Cheryl Glenn a friend to me she
was also a friend to my mom. She helped my mom get a job with Baltimore City School System where
my mom retired after working 20 plus years.



She loves giving back to the community; she would always find ways to motivate and encourage any
struggling person or family. She would always have a hot meal for those who were hungry. She would
always volunteer where ever she could.

Ms. Glenn is a remarkable person and I have nothing but good things to say about her. She will always
be a true friend to me as well as a good friend to others.



Yours respectfully,



Clarice Richardson
IT Specialist for the Federal Government
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March 31st, 2020


The Honorable Catherine C. Blake
United States District Judge


Dear Honorable Judge Catherine C. Blake,


My name is Aaron Savage, I am the second eldest grandchild, and it is my great pleasure to
provide this character reference for my Grandmother Cheryl Glenn. I have been on this earth for
25 years, and my grandmother has been here for them all; and because of this I have experienced
25 years of memories, 25 years of lessons, and 25 years of love. As I wrote this letter, I searched
back through those years to try to find a word to describe her, that would encapsulate the essence
of her character. The word that came to mind was selflessness. My Grandmother has always
been a joyful giver, but this giving was not exclusive to just family; anyone who knew me knew
my Grammy, whether it be friends, teammates, or coaches. I can recall various occasions, where
myself and six or seven other teammates would leave a game and come straight to my
grandmother’s house because everyone knew they could come get a plate. No matter what she
was doing at the time she would always stop and make sure everyone ate. Her selflessness and
sacrifice have impacted the lives of so many people. To this day, if you were to come to the
Glenn household at 3 a.m. on the morning of Thanksgiving, you would find a hardworking
Cheryl Glenn, stirring, whisking, and seasoning every piece of food within arms-reach; all to
ensure the best for her family. This is a testament to my Grandmother’s character, and it shows
her level of selflessness, and dedication to serving others.
My grandmother means the world to me, and not because she makes the best waffles ever, or
because she sends me care packages whenever my refrigerator is empty, but because she’s the
coolest, most hip, grandmother on the planet. My grandmother is a real-life Rockstar. She is a
woman of resilience, strength, and intelligence, and I have no doubt that she will continue to
impact and inspire others, just as she has done for me.




Sincerely,
Aaron Savage
aaronsavage34@gmail.com
443-804-1571
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May 25, 2020


The Honorable Catherine C. Blake
United States District Judge


Dear Judge Blake,
If I could use one word to describe my grandmother, Cheryl Glenn, it would be optimistic.
Growing up in Baltimore, not many people are able to withstand adversity and still come out
successful. Everything that she has ever had, she worked hard for because she knew the out
coming product of hard work. My grandmother has been nothing but continuous blessings not
only to our nuclear family but people throughout the neighborhoods, the City, even my friends.
It’s always been an open arms mentality in the Glenn household. She is not just my Grammy but
she’s Grammy to many more. When I receive opportunities to speak with older people that
work/know my grandmother, they only have great things to say, never any negatives. We, as a
family, have a saying that we try our best to live by and that’s “Aspire to inspire before we
expire”, which is pretty self-explanatory!
I just turned 21 years old on May 1st, and I can honestly say that my grandmother has helped me
so much my entire life. When school reopens, I will be a Junior at Norfolk State University.
Every month my grandmother sends me money to help me with expenses. She regularly travels
to see me play football. Whenever I have needed anything, she is always there to help, no matter
what. Now that she is turning 69 years old on May 27th, I hope I can continue to enjoy her being
in my life for many more years. I need my grandmother.
Thank you,
Brandon T. Savage
443-922-5008
brasavage21@gmail.com
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The Honorable Catherine C. Blake
United States District Judge
May 24, 2020


I am writing in hopes that these words could help you to see what an amazing, selfless,
and strong woman Cheryl Glenn is. I am writing to vouch for the character of my great
grandmother in love, Cheryl (known to our family as Grammy); who faces criminal
sentencing before your court.
I have known Grammy for 6 years as I have been married to her first grandson going on
three years In July. I have also had the honor of welcoming her first great-grandchild
into the family in January 2019. Unfortunately, I am writing to you under these
circumstances, but I remain convinced that she possesses the determination to learn
from this experience and the power to fight toward better days.
Grammy is the type of woman who is respectable, trustworthy, has good moral
judgment and character. Her love for others and her family runs deep and to the point
where she consistently put others before herself. I have seen this plenty of times in the
many years I have known her.
She is the grandmother who spends every thanksgiving on her feet shopping, cooking,
and cleaning so that she can see the smiles on her family faces. Year after year she
says she will cut back on cooking so much food but never does because she takes
pride in serving others and making sure everyone else is happy and content.
One thing I have witnessed is that she loves to give more than she receives. One time
she promised my sister to come to her graduation cookout. We lived 2 hours away and
she knew that she had problems with her physical body that makes it nearly impossible
for her to drive long distances without her legs locking up on her. It did not matter to her
because she made a promise. This is just one example throughout her life that she has
shown empathy and good character.
I consider myself to be a great judge in character as I am a mental health therapist who
works alongside children, adults, and at-risk families. I witness constantly how the family
unit is very important. She is essential to our family. Myself, my husband, and her great-
grandchild depend on her.
Please consider these words and the people who depend on her.
Respectfully,
Destinee Savage
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                                                                         May 25th, 2020


Dear The Honorable Catherine C. Blake U.S. District Judge,



      My name is Michael Adonis Savage, I am the eldest grandson of Cheryl D.
Glenn. I have known Cheryl Glenn my entire life, and in fact the first 8 months of
life as an infant were spent in her home. I am now 26 years old, and for all the time
I have known Cheryl Glenn she has continually been a beacon of light and
strength. She has often been very upfront about what she stands for, and has
always strived to do the right thing. She often taught me and my siblings while we
were young that you should always do the right thing even if no one is looking,
even if it hurts to do it because living in truth brings freedom and liberty. And as to
the best of my knowledge and what I have witnessed from her actions, even when
she did not know that I was looking, she has always lined up with the virtuous
characteristics of honesty, hardwork, and reliability. Many times, and still to this
day Cheryl Glenn would open her home to friends & family for fellowship and
quality time spent. I cannot count on my hands how many times she has invited
people over to laugh and enjoy a good time, while she would cook and clean up
after everyone. In fact, she would do it so much that she would ignore her own
basic needs even as an elderly woman; to the point that I, myself or other friends
and family members would have to insist that she sit down and relax. I know this
to be true about people; you have those who only care about themselves and their
own needs, and will even allow others to suffer at the expense of their own peace.
And then you have people like Cheryl Glenn who are the most unselfish types of
people you could ever meet. It is rare that an individual will open up their bowels
of compassion and try to serve everyone on their own, without looking for help,
without looking for approval, or praise. Cheryl Glenn embodies the spirit of a
servant, both to her community and to her friends & family. Her ability to sacrifice
and put others before herself is truly a miracle. To find out that she was charged
and can face time in prison is completely shocking to me because her entire life has
shown the complete opposite of actions that would warrant any type of
imprisonment. As a family member of Cheryl Glenn, as a respecter of Cheryl
Glenn; sentencing her to time in prison would be devastating towards the family.
No only that, but it would be devastating and detrimental to Cheryl Glenn herself.
She is an elderly woman who has served her community on countless occasions.
She has lost her late husband, and struggles frequently with the loss of her spouse.
And she has been able to press on and continue to live largely on the fact that she
has had her family around her to love her, encourage her, and support her. For
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Cheryl Glenn to face imprisonment would be detrimental to her health and life.
Our nation has suffered many losses of family members due to the Covid-19
pandemic and I don’t want to loose Cheryl. Cheryl Glenn loves life, she loves
people and she loves living and existing with the family and friends that the good
Lord God has blessed her with.



                                                 Signed,
                                                       Michael A. Savage
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Honorable Catherine C Blake, United States District Judge

   Good Afternoon,

      My name is Niki Savage, I am the oldest daughter of the former Delegate, Cheryl Glenn. I wanted
to share my thoughts with you on the person that the world knows as Delegate but I know as Mom. I
will be 50 years old this year and for most of my life I have witnessed my mother as a staunch advocate
and defender of the rights of the people who she has served. The recent events that have brought my
mother to this moment are in no way indicative of the person that she truly is. Cheryl Glenn is a mother,
a grandmother, and a great-grandmother. She is the "cornerstone" to our family unit. My mother
comes from very humble beginnings, she grew up in a broken home in the heart of Baltimore City,
witnessed Domestic Violence as a child, and experienced homelessness as a child-often sleeping on the
sofas of her friends. Although her childhood was rough, my mother pulled herself up by her bootstraps
and worked hard to make something of herself and THAT she did.

       I have witnessed my mother rise from the ashes as a survivor of an abusive marriage. A marriage
which ultimately resulted in her being widowed and a mother of 2 at a young age. After the violent
death of her first husband she was homeless again for the 2nd time in life, this time she had her children
with her. My mother worked hard as an employee of the Baltimore City School System and then she
catapulted her career as one of the founding members of the City Union of Baltimore. Her passion for
helping others motivated her to act as an advocate and a voice for those employees who could
not/would not speak for themselves. She worked hard and her hard work resulted in her being elected
as the very first President of the newly formed City Union of Baltimore, representing over 800
employees of the City of Baltimore. As the President of CUB, my mother earned her respect in the
community as a tough negotiator often going toe to toe with top officials of the Police and Fire
Departments, Public Works and the School System on behalf of her constituents. She was always just a
phone call away for anyone in need. Her union roots ultimately ushered her into the world of politics. As
a Delegate for the great State of Maryland, my mother worked hard to be the kind of representative
that would fight for legislation that would benefit those who had been under served in the
past…education and recreation were always near and dear to her heart as she believed that children are
the future of our community and servicing the youngest members of our community would lead to a
better tomorrow. Anyone who paid a visit to Annapolis knew that when Cheryl Glenn believed in a cause
that she would work tirelessly to see it through. Domestic violence advocates called her a friend as she
worked hard to implement legislation to protect victims from their violent partners. She sponsored
legislation that protected victims of domestic violence from prosecution if they had to break a lease to
ensure their safety. She also sponsored legislation to keep violent partners from being able to legally
carry a gun if there was an exparte issued against them. In short, Cheryl Glenn used her unfortunate
beginnings as a victim of Domestic Violence as motivation to be a voice for the people. My mother
worked her way through the rank and file of Annapolis and was elected as the Chair of the Legislative
Black Caucus, addressing the needs of not just her Constituents in the 45th district but for the entire
State of Maryland. She has led a life of service. Every year she awarded scholarship money to deserving
college students and graduating high school seniors. I know that it may sound cliché but she was a
representative FOR THE PEOPLE, not for recognition or ambition but for the love of the ability to
positively affect change and assist her community. She has also served as a mentor to many prominent
leaders in today’s legislature and City government.
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          Outside of politics Cheryl Glenn has always been one who provides and supports her loved
ones. There has never been a time that I have needed her and she wasn’t there. Her Grandkids never
have to ask, she just does whatever is needed to support them financially, emotionally and physically
when she can. We have a family of athletes and on any given night you can find Grammy, as the kids call
her, at a wrestling match, track meet, or football game supporting her grandkids. She is the matriarch of
our family and the glue that keeps us together. My husband was recently diagnosed with ALS and this is
a difficult time for our family. My mother has been of constant support to my family and I cant imagine
going through this traumatic time without her. It is my hope that she is judged by the totality of her life
and not by one mistake as she IS and HAS BEEN so much more to so many.
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March 23, 2020


Re: Cheryl Glenn


To The Honorable Catherine Blake;




I am writing this letter on behalf of Cheryl Glenn. I was never asked to write this
letter, I contacted Cheryl Glenn who put me in contact with her lawyer who
provided me the format to prepare this letter. I have known Cheryl Glenn as a
good friend and neighbor for over 20 years. Although is seems hard to believe
given the circumstances, Cheryl is a person of good moral character.

Cheryl Glenn displays a high degree of integrity, rsponsbility and commitment to
the community. Cheryl Glenn is a skilled leader who always maintains
professionalism and a great sense of duty that has always been shown to
members in the community. Cheryl Glenn played a big part in legalizing medical
marijuana to improve the quality of life for those suﬀering from chronic illnesses.
Cheryl Glenn supported higher education by helping students financially to
continue their education. Increase in violence is a big problem in the city, Cheryl
Glenn was reponsible for the building of recreation center where children have
a safe place to play but also helps to decrease the violence in our city.

 I can truly understand how diﬃcult it is for you to have to make decision of this
type and under these circumstances without really knowing the person in front
of you. It is my sincere hope the court takes this letter into consideration at the
time of sentencing. I still believe Cheryl Glenn to be an honorable individual, a
valuable member to my community, and a good human being.

Sincerely,




Marguerita Webb
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July 8, 2020

The Honorable Catherine C. Blake
United States District Judge

Your Honor,

My name is Deena White. I have the absolute honor and privilege to refer to Cheryl Glenn as Aunt
Cheryl. I remember when I was first introduced to Aunt Cheryl, she welcomed me with open arms.
Although her blood does not run through my veins, she treats me and give me the same access as her
blood relatives. I admire her strength and integrity. When she gives her word, she does what she says
she is going to do. On the contrary, when she’s asked to do something that is morally or ethically wrong,
she also has no problem declining or saying no, I have witnessed this to be a fact.

I strive in my daily life to make her proud and honestly, it is disheartened that I must minimize my
appreciation and thankfulness for her and her support to this letter. However, as much as she has
sacrificed for myself and the countless number of other, this letter is the least I can do to articulate my
experience of her character to you.

When I was in college studying Criminal Justice Administration, I remember Aunt Cheryl’s encouraging
words of wisdom for me as I struggled at times with my field of study. She also sent me care packages
and would send me back with groceries for my apartment.

Aunt Cheryl is loyal, honest, responsible, hardworking, and accountable. I have experienced and
witnessed acts of selflessness, generosity and support for those who have needed her resources and
even for those who didn’t deserve it.

Aunt Cheryl has fought injustice and inequality for all people. Whether it is through her commitment to
her family, friends, church family, Baltimore City community or people in general. She has committed
her life to doing the right thing and going without some of the things she should have for the sake of
others having a better life. I consider her to be a pioneer for generations behind her and a pillar for her
community at large. Anyone who has been blessed to know or work alongside her has truly been
blessed. Any sentence greater than freedom would be a grave injustice and disservice her family and all
of us who depend on her expertise, love, encouragement, and support.


Respectfully Submitted,

Deena White
Deena White
410-960-5539
deena.white87@gmail.com
